20-51084-rbk Doc#18 Filed 09/14/21 Entered 09/14/21 15:01:50 Main Document Pg 1 of 2




  The relief described hereinbelow is SO ORDERED.

  Signed September 14, 2021.


                                                      __________________________________
                                                                   Ronald B. King
                                                        Chief United States Bankruptcy Judge




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

         IN RE:                                       §       CHAPTER 11
                                                      §
         KRISJENN RANCH, LLC,                         §       CASE NO. 20-51084-rbk
         SERIES PIPELINE ROW                          §
                                                      §
                 DEBTOR                               §               (Jointly Administered)

      ORDER CONTINUING DISLCOSURE STATEMENT HEARING, IMPOSING
    DEADLINE TO FILE AMENDED PLAN AND DISCLOSURE STATEMENT, AND
    EXTENDING DEBTORS’ EXCLUSIVITY PERIOD FOR CONFIRMING PLAN OF
                          REORGANIZATION

          This matter came before the Court on KrisJenn Ranch, LLC, KrisJenn Ranch, LLC Series

   Pipeline ROW, and KrisJenn Ranch, LLC Series Uvalde Ranch’s (the “Debtors”), Joint

   Disclosure Statement and the Court finds there is good cause to continue the hearing on the Joint

   Disclosure Statement, impose a deadline for the Debtors to file their second amended joint

   disclosure statement and plans of reorganization, and extend Debtors’ exclusivity period for

   confirming plans of reorganization.

         It is therefore,
20-51084-rbk Doc#18 Filed 09/14/21 Entered 09/14/21 15:01:50 Main Document Pg 2 of 2




        ORDERED, ADJUDGED AND DECREED that

        1) Debtors shall file their second amended joint disclosure statement and plans no later

           than September 30, 2021;

        2) The hearing on Debtors’ Joint Disclosure Statement, as amended, shall be held on

           October 13, 2021, at 9:30 a.m. in Court Room 3, 615 E. Houston Street, San Antonio,

           Texas 78205;

        3) The Debtors shall have the exclusive right to solicit and confirm their plans of

           reorganization up to and including November 30, 2021

                                                  ###

  Submitted By:


                                      THE SMEBERG LAW FIRM, PLLC

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